            Case 2:21-cr-00237-DAD-CSK Document 39 Filed 12/13/21 Page 1 of 4


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 5

 6   Attorneys for Plaintiff
     United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:21-CR-237-KJM

12                                 Plaintiff,             STIPULATION AND [PROPOSED] ORDER
                                                          CONTINUING INITIAL APPEARANCE AND
13                           v.                           WAIVER OF INDICTMENT

14   OLAMIDE YUSUF BAKARE,                                DATE: December 13, 2021
                                                          TIME: 2:00 p.m.
15                                Defendant.              COURT: Hon. Deborah Barnes
16

17          Plaintiff United States of America, by and through its attorney of record, Special Assistant U.S.

18   Attorney ROBERT J. ARTUZ, and Defendant OLAMIDE YUSUF BAKARE, both individually and by

19   and through his counsel of record, CANDICE L. FIELDS, hereby stipulate as follows:

20          1.      The Complaint in this case was filed on July 12, 2021, charging Bakare with one count of

21   conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349. Bakare first appeared before a

22   judicial officer of the District of Maryland on or about July 16, 2021, and is currently detained. He is

23   scheduled to waive indictment and make an initial appearance on the Complaint on December 13, 2021.

24          By this stipulation, the parties jointly move to set the initial appearance and waiver of indictment

25   on December 15, 2021 at 2:00 p.m., before the duty Magistrate Judge. The parties stipulate that the

26   delay is required to allow the defense reasonable time for preparation for this hearing.

27          IT IS SO STIPULATED.

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      STIPULATION                                         1
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         Case 2:21-cr-00237-DAD-CSK Document 39 Filed 12/13/21 Page 2 of 4

     Dated: December 13, 2021                  PHILLIP A. TALBERT
 1                                             Acting United States Attorney
 2
                                               /s/ ROBERT J. ARTUZ
 3                                             ROBERT J. ARTUZ
                                               Special Assistant U.S. Attorney
 4

 5
     Dated: December 13, 2021                  /s/ CANDICE L. FIELDS
 6                                             CANDICE L. FIELDS
 7                                             Counsel for Defendant
                                               OLAMIDE YUSUF BAKARE
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     STIPULATION                           2
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            Case 2:21-cr-00237-DAD-CSK Document 39 Filed 12/13/21 Page 3 of 4


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 6   Attorneys for Plaintiff
     United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:21-MJ-112-CKD

12                                Plaintiff,            ORDER CONTINUING INITIAL APPEARANCE
                                                        AND WAIVER OF INDICTMENT
13                          v.
                                                        DATE: December 13, 2021
14   OLAMIDE YUSUF BAKARE,                              TIME: 2:00 p.m.
                                                        COURT: Hon. Deborah Barnes
15
                                  Defendant.
16

17
            The Court has read and considered the Stipulation for Order Continuing Initial Appearance and
18
     Waiver of Indictment, filed by the parties in this matter on December 13, 2021. The Court hereby finds
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     that the Stipulation, which this Court incorporates by reference into this Order, demonstrates good cause
20
     for an extension of time for Initial Appearance and Waiver of Indictment.
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            THEREFORE, FOR GOOD CAUSE SHOWN:
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            1.      The date of the Initial Appearance and Waiver of Indictment is extended to December 15,
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                    2021 at 2:00 p.m.
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     ////
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     ////
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       [PROPOSED] FINDINGS AND ORDER                     1
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          Case 2:21-cr-00237-DAD-CSK Document 39 Filed 12/13/21 Page 4 of 4


 1         2.      Defendants shall appear at that date and time before the Magistrate Judge on duty.

 2         IT IS SO ORDERED.

 3   Dated: December 13, 2021

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      [PROPOSED] FINDINGS AND ORDER                    2
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